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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF KENTUCKY DISTRICT
NORTHERN DIVISION AT COVINGTON

MATTHEW MACH : Case No.
c/o Christopher Wiest, Esq
50 E. Rivercenter Blvd, Ste. 1280
Covington, KY 41011

Plaintiff

v.

HON. MERRICK GARLAND
950 Pennsylvania Avenue NW
Washington DC 20530

AND

HON. CHRISTOPHER WRAY
935 Pennsylvania Avenue, NW
Washington, D.C. 20535-0001
AND

HON. STEVEN DETTELBACH
99 New York Avenue, NE
Washington, DC 20226

AND

United States of America

c/o U.S. Attorney General and
US Attorney’s Office, KYED

Defendants

PLAINTIFFS VERIFIED COMPLAINT FOR DECLARATORY, INJUNCTIVE, AND
ANCILLARY RELIEF

1. Plaintiffis a resident of Florence, Kentucky.
2. Defendant Merrick Garland is the United States Attorney General. He is sued in his official

capacity, and is charged with, among other things, ensuring and overseeing that accurate
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information is contained in the National Instant Criminal Background Check System
(“NICS”) pursuant to 34 U.S. Code § 40901(g), and generally oversees the prosecution of
firearm offenses in the United States.

Defendant Christopher Wray is the current Director of the Federal Bureau of
Investigations. He is sued in his official capacity only, and is the federal official
responsible and charged with the day to day enforcement and administration of the NICS,
which is at issue herein. See 28 C.F.R. 25.1, et. seq.

Defendant Christopher Wray is the current Director of the Bureau of Alcohol, Tobacco,
Firearms and Explosives (ATF), which is charged under federal law and regulation with
enforcement of firearm laws and regulations.

Defendant the United States of America, is the sovereign, and, as explained herein, is sued
pursuant to United States Code for the relief sought herein.

JURISDICTION AND VENUE

Subject matter jurisdiction over the claims and causes of action asserted by Plaintiffs in
this action is conferred on this Court pursuant to 5 U.S.C. § 552a(g)(1), 18 U.S.C. § 925A
and 28 CFR 25.10(f), 28 U.S.C. §1331, 5 U.S.C. 702, et. seq., 28 U.S.C. §§ 2201 and
2202, and other applicable law.

Venue in this District and division is proper pursuant to 18 U.S. Code § 925A, 28 U.S.C.
§1391(e)(1)(C), and other applicable law.

FACTS

Plaintiff's Voluntary Mental Health Treatment, 2017

In mid-2017, Plaintiff Matthew Mach tragically, suddenly, and unexpectedly lost his

grandfather, who was instrumental in Plaintiff's upbringing.
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9. This sudden loss had a severe impact on Plaintiff, and led to a decline of Plaintiff's mental
and emotional health.

10. On or about July 2017, Plaintiff Matthew Mach voluntarily checked himself in to St.
Mary’s Medical Center, located at 2900 1“ Ave., Huntington, West Virginia 25702, out of
concern for himself, his mental state at the time, and an abundance of caution for his mental
and emotional health included his use of alcohol to cope with the loss.

11. Plaintiff was then voluntarily transferred to Highlands Hospital, located at 300 56" St. SE,
Charleston, WV 25304 to receive mental health treatment.

12. Plaintiff received mental health treatment for about a week.

13. For the avoidance of all doubt, Plaintiff voluntarily sought mental health care and was
never committed to a mental institution as a matter of federal law. 27 CFR 478.11
(“[‘Committed to a mental institution’] does not include a person in a mental institution for
observation or a voluntary admission to a mental institution.”); 18 U.S.C. 922(g)(4)
(applying a prohibitor to someone “(4)who has been adjudicated as a mental defective or
who has been committed to a mental institution;”).!

14. About a week after Plaintiff sought mental healthcare, in either late July or early August
2017, Plaintiff was discharged from Highlands Hospital with a clean bill of health, with
the crisis averted. Since leaving Highlands Hospital, has not had a mental health crisis and
has a clean bill of health, but continued to seek therapy as needed through the end of 2017.

15. Plaintiff has had no need for further mental health treatment since, and since 2017, has no

mental health issues, and since 2019 has given up the use of alcohol in his life.

1 Tyler vy. Hillsdale Cnty. Sheriff's Dep't, 837 F.3d 678, 681-682 (6th Cir. 2016) (en banc) makes
clear that the prohibitor only applies to those “who are involuntarily committed by an appropriate
judicial authority following due process safeguards”

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Plaintiff's firearm matters

On or about January 26, 2024, the Plaintiff attempted to purchase a firearm, and had his
background checked via the National Instant Criminal Background Check System

(“NICS”).

. NICS returned a “denial,” preventing Plaintiff from purchasing a firearm.

. On or about January 26, 2024, Plaintiff received information from his FFL on the process

to appeal his denial. NICS Denial Information, Exhibit A.
Plaintiff wishes to purchase a firearm at present, and, but for the NICS denial, which
remains of record with the FBI, would purchase a firearm and then keep and bear that

firearm for purposes of home and self-defense.

.On or about January 31, 2024, Plaintiff took action to discern the reasoning for the

determination of the denial and appeal the denial, and submitted a Request for or Challenge
the Reason(s) for Firearm-Related Denial, and provided the NICS Transaction Number
(NTN), making clear that this was a denial of a firearm purchase, not a denial of a concealed

carry weapon. See, a/so, 28 C.F.R. Part 25.9-10 and 34 U.S. Code § 40901(g).

. Qn February 1, 2024, the Attorney General, acting through the U.S. Department of Justice,

and in violation of 34 U.S. Code § 40901(g), responded to Plaintiff's Request for or
Challenge the Reason(s) for Firearm-Related Denial, indicating “the FBI’s Criminal
Justice Information Services Division does not provide the reason(s) for delays/denials or
process challenges regarding permits issued by state or local agencies that use the National
Instant Criminal Background Check System (NICS) for firearm-related permit purposes.”

See First Response, Exhibit B.
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. For the avoidance of all doubt, Plaintiff did not apply for a permit, but rather attempted to
purchase a firearm, and the NICS system for his background check for the firearm
purchase.

.On or about June 6, 2024, Plaintiff, in an attempt to correct the Department of Justice’s
tecord, once again once again took action to appeal the denial, and submitted another
Request for or Challenge the Reason(s) for Firearm-Related Denial, and provided the NICS
Transaction Number (NTN), making clear that this was a denial of a firearm purchase, not
a denial of a concealed carry weapon and sought to have his records corrected under 5 §
U.S.C. 552a. See, also, 28 C.F.R. Part 25.9-10 and 34 U.S. Code § 40901(g).

_On June 7, 2024, the Attorney General, acting through the U.S. Department of Justice, and
in violation of 34 U.S. Code § 40901(g), responded to Plaintiff's Request for or Challenge
the Reason(s) for Firearm-Related Denial, indicating “Please be advised that the NTN
and/or STN you provided is/are not valid, or has been purged due to exceeding our retention

requirement of 88 days.” See Second Response, Exhibit C.

. The Attorney General, acting through the U.S. Department of Justice, purged the record of

Plaintiff's denial after 88 days had passed after denial and refused to correct his erroneous

record.

. As a consequence of this process, and upon information and belief, a state or local

government entity and/or the Federal Bureau of Investigations likely have entered
information into NICS and other database(s), incorrectly reflecting that Plaintiff is not

qualified to possess or purchase a firearm.
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27. Plaintiff intends to possess firearms, but fears prosecution from the Defendants in this
action, including for the erroneous records that he seeks correction of, necessitating this
action.

28. However, as of the filing of this Complaint, due to the misfeasance and malfeasance of the
Defendants, multiple records within the state law enforcement systems and NICS remain
erroneous and false.

29. For the avoidance of all doubt, Plaintiff suffers no disqualification under 18 U.S.C. §
922(g) or (n).

CLAIMS FOR RELIEF

COUNT I — Illegal Firearm Denial (18 USC 925A; 28 CFR 25.10)

30. Plaintiff reincorporates the foregoing paragraphs as if fully written herein.

31. Upon information and belief, Plaintiff was denied a firearm on January 26, 2024, pursuant
to 18 U.S.C. 922 § (g)(4).

32. Plaintiff was denied the firearm due to the provision of erroneous information relating to
Plaintiff by the NICS system established under section 103 of the Brady Handgun Violence

Prevention Act.

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. Plaintiff was not and is not prohibited from receipt of a firearm pursuant to subsection (g)
or (n) of 18 U.S.C, § 922.

34. In fact, Plaintiff is not prohibited from receipt of a firearm pursuant to subsection (g) or (n)

of 18 U.S.C. 922 as a matter of federal law. 27 CFR 478.11 (“['Committed to a mental

institution’ ] does not include a person in a mental institution for observation or a voluntary

admission to a mental institution.”’).
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. Plaintiff therefore seeks an order directing that the erroneous information be corrected and

that the transfer be approved as permitted under 18 U.S.C. 925A, and, pursuant to 18 U.S.C.

925A, seeks his reasonable attorney fees and costs.

. Plaintiff further seeks such relief pursuant to 28 CFR 25.10.

COUNT II — Declaratory and Injunctive Relief (Constitutional Violations — Second and
Fifth Amendments)

. Plaintiff reincorporates the foregoing paragraphs as if fully written herein.

. The actions complained of herein, have not afforded the Plaintiff due process, including

the right to be heard in a timely manner and in a timely fashion as to his records, and thus

violate the Fifth Amendment of the United States Constitution.

. The actions complained of herein, which have and continue to have the ability of denying

the Plaintiff access to firearms, for which he is lawfully able to bear and carry, including
for purposes of personal defense and defense of the home, thus violate the Second
Amendment of the United States Constitution. Even if Plaintiffs prior mental health
commitment was involuntary, binding case law in this Circuit make clear that the
prohibition cannot stand under the Second Amendment. 7/y/er v. Hillsdale Cnty. Sheriff's
Dep't, 837 F.3d 678 (6" Cir. 2016). Moreover, there is no history or tradition of
disqualifying persons such as the Plaintiff from being able to own, possess, and bear
firearms for purposes of home and self-defense. New York State Rifle & Pistol Ass'n, v.
Bruen, 597 U.S. 1 (2022). Thus, the prevention by Defendants of Plaintiffs ability to
possess and bear firearms is contrary to the Second Amendment.

Plaintiff therefore seeks declaratory relief and injunctive relief, pursuant to 28 U.S.C. 2201
and 2202, and/or 5 U.S.C. § 702, that Defendants have and continue to violate the Fifth

and Second Amendment rights of the Plaintiff and to cease such violations.
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Plaintiff further states that, pursuant to 28 U.S.C. 2412, that Plaintiffis a “party” as defined
in 28 U.S.C. 2412(d)(2)(B), that the position of Defendants is not substantially justified,
and that Plaintiff is therefore entitled to his reasonable attorney fees and costs for this
action.

COUNT Ill —Privacy Act (5 USC 552a)

. Plaintiff reincorporates the foregoing paragraphs as if fully written herein.
. Plaintiff is an “individual” within the meaning of 5 U.S.C. 552a(a)(2).

. Pursuant to 5 U.S.C. 552a(d)(3), Defendants have failed, to complete a review of

Plaintiff's records and request for amendment within thirty days, have failed to make a
final determination within that period, have failed to demonstrate good cause shown for
any delay beyond that period as required by that section.

Pursuant to 5 U.S.C. 552a(d)(4), Defendants have permitted releases to be made that are
not in compliance with that section, including reflecting the Plaintiff's disagreement with
same.

Pursuant to 5 U.S.C. 552a(e)(1), Defendants have failed to maintain in their records
information relating to the Plaintiff as is relevant and necessary to accomplish a purpose
of the agency required to be accomplished by statute or by executive order of the
President.

Pursuant to 5 U.S.C. 552a(e)(2), Defendants have failed to collect information to the
greatest extent practicable directly from the Plaintiff when the information may result in
adverse determinations about Plaintiff's rights, benefits, and privileges under Federal

programs.
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48. Pursuant to 5 U.S.C. 552a(e)(5), Defendants have failed to maintain all records which are
used by the agency in making any determination about Plaintiff with such accuracy,
relevance, timeliness, and completeness as is reasonably necessary to assure fairness to
Plaintiff in the determination.

49. Pursuant to 5 U.S.C. 552a(e)(6), prior to disseminating any record about Plaintiff to any
person other than an agency, unless the dissemination is made pursuant to subsection
(b)(2) of this section, make reasonable efforts to assure that such records are accurate,
complete, timely, and relevant for agency purposes.

50. Pursuant to 5 U.S.C. 552a(e)(8), Defendants have failed to make reasonable efforts to
serve notice on Plaintiff when any record on Plaintiff is made available to any person
under compulsory legal process when such process becomes a matter of public record.

51. Pursuant to 5 U.S.C. 552a(g)(1)(A), (C), and (D), Plaintiff brings a civil action under that
section, for, among other things, the relief set forth in 5 U.S.C. 552a(g)(2) , (4), and (5).

52. Plaintiff therefore seeks, pursuant to 5 U.S.C. 552a(g)(2), (4), and (5), the following
relief. (1) amendment or expungement of records involving the Plaintiff and described
herein under 5 U.S.C. 552a(g)(2); (11) making a finding that the agency acted in a manner
which was intentional or willful and award actual damages in the amount of not less than
$1,000 pursuant to 5 U.S.C. 552a(g)(4); and (iii) awarding reasonable attorney fees and
costs under 5 U.S.C. 552a(g)(2) and (4).

53. Plaintiff explicitly requests that this Court direct that any information related to the
Plaintiff's voluntary treatment be completely expunged, given the repeat issues that the
Plaintiff has suffered, and that injunctive relief be entered prohibiting any future false

entries.
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WHEREFORE, Plaintiff demands:

A.

Judgment against Defendants, as prayed for within the foregoing Complaint, including
directives for record correction and expungement, directives that firearm transfers be
permitted, and declaratory and injunctive relief, to remove any records that are preventing
Plaintiffs firearm purchase, and injunctive relief preventing the Plaintiff from being
investigated or prosecuted for his past mental health treatment; and

That Plaintiff be awarded damages as set forth in 5 U.S.C. 552a(g)(4), and

That Plaintiff be awarded his reasonable attorney fees and for the costs of this action; and

. That Plaintiff be awarded damages as prayed for; and

Such other relief as this Court may find just and proper.

Respectfully submitted,

/s/Theodore J. Roberts

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VERIFICATION

I, Matthew Mach, pursuant to 28 U.S.C. 1746, declare under penalty of perjury that I have
reviewed the foregoing Complaint, that I am competent to testify in this matter, that the facts

contained therein, are true and correct, and are based on information personally known and
observed by me.

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